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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

SAIFULLAH PARACHA (ISN 1094),                 :
                                              :
               Petitioner,                     :
                                              :        Civil Action No. 04-2022 (PLF)
                                              :
       vs.                                    :
                                              :
DONALD J. TRUMP, et al.,                       :
                                              :
               Respondents.                   :

                                   JOINT STATUS REPORT

       On April 23, 2018, the Court issued a Minute Order directing the parties to file a joint status

report by April 30, 2018, notifying the Court (1) whether Respondents have provided a version of

the Amended Factual Return that can be shared with Mr. Paracha, and (2) if so, whether the

Petitioner still seeks resolution of his motion that was filed as ECF No. 482. On April 27, 2018,

Respondents provided to Petitioner’s counsel at the secure facility a version of the Amended

Factual Return that can be shared with Mr. Paracha. Petitioner’s counsel confirmed receipt of this

version of the Amended Factual Return on April 30, 2018. As a result, Petitioner withdraws its

motion that was filed as ECF No. 482 as moot.



Dated: April 30, 2018

Respectfully submitted,



 STEPHEN C. NEWMAN                                 CHAD A. READLER
 Federal Public Defender                           Acting Assistant Attorney General

 /s/ CATHERINE J. ADINARO                          TERRY M. HENRY
 CATHERINE J. ADINARO                              Assistant Branch Director


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